Entered: October 5th, 2018
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Signed: October 5th, 2018

SO ORDERED
NO TIMELY OPPOSITION FILED.




                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF MARYLAND
                                            Baltimore Division
         IN RE:

         TMST, Inc.
         f/k/a Thornburg Mortgage, Inc.                                 Case No. 09-17787
                                                                        Judge Nancy V. Alquist
               Debtor                                                   Chapter 11 Voluntary Asset
         _________________________________

         Bank of America, N.A.

                   Movant,

         vs.

         TMST, Inc.
         f/k/a Thornburg Mortgage, Inc.

                   Debtor.

                               ORDER TERMINATING THE AUTOMATIC STAY

                  Upon consideration of the Motion for Relief filed by Bank of America, N.A., ("Movant")

         and there being no opposition thereto, it is hereby

                   ORDERED, that the Automatic Stay shall be, and the same hereby is, TERMINATED,

         effective immediately pursuant to 11 U.S.C. § 362(d) to permit Movant to advance quiet title

         litigation concerning the real property commonly known as 945Wellsley Court, Bloomfield
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Hills, MI 48304 to clear the mortgage benefitting Debtor that encumbers the real property; and it

is further,

         IT IS FURTHER ORDERED that the fourteen day stay of relief pursuant to Fed. Bankr.

P. Rule 4001(a)(3) is hereby waived; and

        IT IS FURTHER ORDERED that the Automatic Stay of 11 U.S.C. Section 362 (a) shall

not be reimposed as to the Debtor’s interest by the conversion of this case to any other chapter

under the Bankruptcy Code.


Copies to:

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                                       END OF ORDER
